                   So Ordered.

Dated: December 23rd, 2020
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      8                               UNITED STATES BANKRUPTCY COURT
      9                               EASTERN DISTRICT OF WASHINGTON
     10                                         )
          In Re:                                )                Case No. 19-00473-FPC11
     11                                         )                Jointly Administered
          R&R TRUCKING, INC., and RICARDO CANTU )
     12   AND ROSA CANTU,                       )                ORDER APPROVING SECOND
                                                )                AMENDED DISCLOSURE
     13             Debtors.                    )                STATEMENT AND SETTING
                                                )                CONFIRMATION
     14                                         )
     15                                                I. ORDER
     16            THIS MATTER came before the court on the motion of R&R Trucking, Inc., and Ricardo
     17   and Rosa Cantu (collectively the “Debtors”) for an Order approving the Debtors’ Second Amended
     18   Disclosure Statement (Docket No. 197). The following appearances were made at the hearing: a)
     19   John W. O’Leary, attorney for the Debtor R&R Trucking; b) Joshua Busey, attorney for Debtors
     20   Ricardo and Rosa Cantu; c) James D. Perkins for the U.S. Trustee; d) Jed W. Morris and Jonathan
     21   Golding, attorneys for Creditor BMO Harris Bank; and e) Justine Koehle, attorney for creditor
     22   Connell Oil Inc. The court, having considered the pleadings filed herein and having heard the
     23   argument of counsel, hereby finds and orders as follows:
     24            1. Notice of hearing and time for objecting to the approval of the Disclosure Statement was
     25   proper pursuant to FRBP 2002 and LBR 2002-1;
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     27   ORDER APPROVING SECOND AMENDED                     HAMES, ANDERSON, WHITLOW & O’LEARY, P.S.
          DISCLOSURE STATEMENT AND SETTING                                   601 W. KENNEWICK AVENUE
     28   CONFIRMATION - 1                                                                    P.O. BOX 5498
                                                                             KENNEWICK, WA 99336-0498
                                                                           (509) 586-7797 / Fax (509) 586-3674

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1            2. The court’s oral ruling at the hearing conducted on December 16, 2020, is hereby
2    adopted and incorporated herein by this reference as if fully set forth herein;
3            3. The Debtors’ First Amended Disclosure Statement contains adequate information to
4    allow creditors and parties in interest to make an informed decision as to whether to vote for or
5    against the Debtors’ proposed plan of reorganization;
6            4. The Debtors’ First Amended Disclosure Statement is hereby approved.
7            5. On or before December 28, 2020, the plan, disclosure statement, list classifying claims
8    and a Ballot conforming to Official Form 3018 shall be transmitted by mail to creditors, equity
9    security holders and other parties in interest as provided in FRBP 3017(d);
10           6. February 2, 2021 is fixed as the last date for filing Ballots accepting or rejecting the
11   Plan referred to above;
12           7. The Report of Ballots must be filed by February 5, 2021;
13           8. February 12, 2021 is fixed as the last date for filing and serving, pursuant to FRBP
14   3020(B)(1), written objections to confirmation of the Plan referred to above;
15           9. The Status Conference regarding confirmation is set for February 16, 2021 at 10:00 a.m.
16   by telephone conference call; all parties who wish to participate shall call (509) 353-3183 at the
17   above appointed time;
18           9. The Confirmation hearing is set for February 23, 2021 at 10:00 a.m. by telephone
19   conference to be initiated by the parties calling (509) 353-3183 at the above appointed time. If
20   there are still objections pending, this will be a Status Conference.
21                                         / / / END OF ORDER / / /
22   Presented by:
23   HAMES, ANDERSON, WHITLOW & O'LEARY, P.S.
     Attorneys for Debtor R&R Trucking
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     BY:     /s/ John W. O'Leary
25         JOHN W. O’LEARY, WSBA 33004
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27   ORDER APPROVING SECOND AMENDED                      HAMES, ANDERSON, WHITLOW & O’LEARY, P.S.
     DISCLOSURE STATEMENT AND SETTING                                    601 W. KENNEWICK AVENUE
28   CONFIRMATION - 2                                                                     P.O. BOX 5498
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